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  4
      Entered on Docket
___________________________________________________________________
  5 December 17, 2021

  6

  7

  8
         CLARISSE L. CRISOSTOMO, ESQ., Bar No. 15526
  9      Email: clarisse@nv-lawfirm.com
         ATKINSON LAW ASSOCIATES LTD.
 10      376 E Warm Springs Rd, Suite 130
         Las Vegas, NV 89119
 11
         Telephone: (702) 614-0600
 12      Attorney for Robert E. Atkinson, Trustee

 13                               UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF NEVADA
 14

 15        In re:                                               Case No. 21-14486-abl
                                                                Chapter 7
 16
            INFINITY CAPITAL MANAGEMENT, INC.
 17         dba INFINITY HEALTH CONNECTIONS,                    ORDER APPROVING MOTION TO
                                                                APPROVE SETTLEMENT
 18                           Debtor.
                                                                Hearing Date: December 16, 2021
 19
                                                                Hearing Time: 11:00 a.m.
 20

 21
                    The chapter 7 trustee’s motion entitled MOTION TO APPROVE SETTLEMENT [DE
 22
         #128] (the “Motion”) came on for a hearing before this Court. The Motion sought to approve a
 23
         settlement agreement, attached as Exhibit 1 to the Motion, resolving a dispute regarding the
 24      ownership of two vehicles: a 2016 Honda Odyssey [VIN: 5FNRL5H94GB090862] (the
 25      “Odyssey”), and a 2011 Honda Pilot [VIN: 5FNYF4H53BB035046] (the “Pilot”).
 26                 No opposition to the Motion had been filed. Upon consideration of the Motion, the
 27      Objection, representations made at the hearing, the Court finds that: (i) each of the four factors
 28      of Martin v. Kane (In re A & C Properties), 784 F.2d 1377 (9th Cir. 1986), favor approval of


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 1
     the proposed settlement; and (ii) the Agreement is fair, equitable, reasonable, and in the best
 2
     interests of the bankruptcy estate.
 3
            Good cause appearing,
 4
     IT IS HEREBY ORDERED:
 5
            1.    The Motion is granted.
 6
            2.    The Agreement, attached hereto as EXHIBIT 1, is approved.
 7
            3.    Upon entry of this order:
 8
                        a. Title to the Odyssey shall vest solely in the name of Oliver Hemmers,
 9
                            and Oliver shall be the sole legal owner of this vehicle.
10
                        b. Title to the Pilot shall vest solely in the name of Anne Pantelas, and
11
                            Anne shall be the sole legal owner of this vehicle.
12
                        c. The parties are bound to all of the rights, obligations, releases, waivers,
13
                            and all other terms contained in the Agreement.
14
     IT IS SO ORDERED.
15
                                                  # # #
16
     Respectfully submitted by:
17
            /s/ Clarisse Crisostomo
18   CLARISSE L. CRISOSTOMO
     Nevada Bar No. 15526
19   Attorney for Robert E. Atkinson, Trustee
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 1
                                   CERTIFICATION re: RULE 9021
 2
     In accordance with LR 9021, counsel submitting this document certifies that the order accurately
 3
     reflects the court’s ruling and that (check one):
 4
            The court has waived the requirements set forth in LR 9021(b)(1).
 5
            No other party appeared at the hearing or filed an objection to the motion.
 6

 7          I have delivered a copy of this proposed order to all counsel who appeared at the
            hearing, and any unrepresented parties who appeared at the hearing, and each has
 8          approved or disapproved the order, or failed to respond, as indicated below:
 9
            I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
10          order with the motion pursuant to LR 9014(g), and that no party has objected to the
            form or content of the order.
11

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                        EXHIBIT 1
                               to
                          ORDER
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